Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 1 of 36

SHIFT TRAINING

ACA STANDARDS

ON:11230-2004 JL ) EXLEP LUPE. RECEIVED a 15-

MINUTE BLOCK

oe / LPRINTNAME
* “TRAINING ON POLICY AND-PROCEDURES; Chain of Command; DURING THE 1500-2300 HOUR

SHIFTS BRIEFING.

EDEN BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
* SGT. KENNETH ROGERS #161
_____-$GT: EARNEST THOMAS #285"
Siew“ 2SG7 EDDIE COLLINS #254

Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 2 of 36

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

on, [1 2504 Tptken HUELAE EEE RECEIVED a 15-MINUTE BLOCK

. PRINT NAME
TRAINING ON POLICY AND PROCEDURE, SEARCHES; DURING THE 2300/0700 HOUR SHIFTS

BRIEFING.

Z? ]

or
URE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #157 |
SGT. DEDRI CALDWELL #152
Case 1:05-cv-00326-LG-JMR ~ Document 76-4 Filed 08/14/08 Page 3 of 36

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

On November: 14, 2004, 1 beep SUE, Lift BE received a 15-
__-Minute Block Training From The Policy And Procedure Directive On Custody Inquires,
_ During The 2300-0700 Hour Shift Briefing

ZO SGNATORE? AND BADGE NUMBER

’ 7 : / .

- Sgt. Dedri Caldwell #152
| Supervisor / Instructor

Set Nathan Bllsberry #154— oo
Supervisor FInstructor _
Case 1:05-cv-00326-LG-JMR Document 76-4 _ Filed 08/14/08 Page 4 of 36

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

On November 21, 2004, | Nepesn VWEcryy CE received a 15-

Minute Block Training From The Policy And Procedure Directive On Uniform And
Personal Appearance, During The 2300-0700 Hour Shift Briefing.

C- Le BH

aE
fo SIGNATURE AND BADGE NUMBER

Sgt. Dedri Caldwell #152
Supervisor / Instructor

Sgt. Nathan Ellsberry #154
Supervisor / Instructor
Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 5 of 36

SHIFT TRAINING

ACA STANDARDS

“20n, 191904 ? Tucen WASH ee RECEIVED a 15-MINUTE BLOCK

_. PRINT NAME
TRAINING ON scngthonss DENTAL SERVICES; DURING THE 1500-2300 HOUR SHIFTS
. BRIEFING. .

oe BADGE NUMBER
SHIET SU PERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161 —

ssdeatgGP EARNEST THOMAS #285 . . . ne
SGT. EDDIE COLLINS #254 eee

Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 6 of 36

SHIFT TRAINING

ACA STANDARDS

*. One. J 2070; TxD fee TAL be RECEIVED a 15-MINUTE BLOCK
PRINT NAME
 SERAINING ON’ACA STANDARDS; AFFIRMATIVE ACTION-PLAN ; DURING THE 1500-2300 3")
‘HOUR SHIFTS BRIEFING. . a

AFC

en ND BAPIGE NUMBER

". SHIFT SUPERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161
“SGT/EARNEST THOMAS #285
“SGT. EDDIE COLLINS #254

Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 7 of 36
SHIFT TRAINING

‘ACA STANDARDS

- - ON. SBOE TECO Ais -". RBCEIVED a 15-MINUTE BLOCK ~
a PRINT NAME
--. TRAINING ON ACA STANDARDS; SEXUAL HARASSMENT; DURING THE 1500-2300 HOUR

SHIFTS BRIEFING.

AG Z Lo 2 “7 r
ZONE AND BADGE NUMBER

‘SHIFT SUPERVISORS/INSTRUCTOR
SGT. KENNETH ROGERS #161

SGT. EARNEST THOMAS #285

SGT. EDDIE COLLINS #254
Case 1:05-cv-00326-LG-JMR . Document 76-4 Filed 08/14/08 Page 8 of 36

SHIFT TRAINING

ACA STANDARDS *

PRINT NAME

mo “TRAINING ON: ACA STANDARDS; EMERGENCY POWER: AND COMMUNICATIONS;

DURING THE 1500- 2300 HOUR SHIFTS BRIEFING.

Zao "Y SIGNATURE AND BADGE NUMBER

- SHIFT SUPERVISORS/INSTRUCTOR ~
SGT. KENNETH ROGERS #161

-., SGT. EARNEST THOMAS #285

SGT. EDDIE COLLINS #254

ON. ‘ote Teva. Weihise eesnbous 15-MINUTE BLOCK |
_Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 9 of 36

SHIFT TRAINING
ACA STANDARDS
ON,12-3:2004. I LBD LEGS -RECEIVED 2 15-
MINUTE BLOCK

" TRAINING ON POLICY AND PROCEDURES; Uniform and Personal APPEARANCE DURING. THE .
- 4500-2300 HOUR SHIFTS BRIEFING. !

Lom ES NUMBER

‘SGT. KENNETH ROGERS #16L . oO 8
af SGT. EDDIE COLLINS #254
rE .

og

-SHIBT. SUPERVISORS/ INSTRUCTOR
Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 10 of 36

SHIFT TRAINING

~ POLICY AND PROCEDURE DIRECTIVE .|

ON, 1] PWEI Tepe Ab COUT GE RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON POLICY AND PROCEDURE, ON TELEPHONE USAGE; DURING THE 2300/0700

HOUR SHIFTS BRIEFING.

DEPUTY SIGNATURE AND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
SGT. LESLIE MATHIS #157

*‘sisesSGP“DEDRI CALDWELL #152
Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 11 of 36

SHIFT TRAINING

“POLICY AND PROCEDURE DIRE@TIVE

On November 20, 2004, 1_< JERE DIIECHISE received a 15-
"Minute Block Training From policy And Procedure Directive on General Library
Services, During The 2245-0700 Hour Shift Briefing.

EPUTY SIGNATURE AND BADGENU

if.
{
4

Set. Nathan Ellsberry #231
Supervisor / Instructor

- Sgt. Leslie Mathis #228
Supervisor / Instructor

~ Sgt. Dedri Caldwell #314
Supervisor / Instructor
Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 12 of 36

SHIFT TRAINING

ACA STANDARDS

“ON, 11-29-2004 __ JL lettep MECHSE. RECEIVED a15-

MINUTE BLOCK . .
PRINT NAME

TRAINING ON POLICY AND PROCEDURES; HOUSEKEEPING; DURING THE 1500-2300 HOUR
SHIFTS BRIEFING.

FP P/

[ON LDSE NUMBER

- SHIFT SU PERVISORS/INSTRUCTOR |

“"“" SGT KENNETH ROGERS #161

SGT. EARNEST THOMAS #285
SGT. EDDIE COLLINS #254
Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 13 of 36

SHIET TRAINING

POLICY AND PROCEDURE DIRECTIVE

a
On November 19, 2004, I everep Je, AHIEO received a 15-

Minute Block Training From policy And Procedure Directive on Deposits, During The
_ 2245-0700 Hour Shift Briefing.

Z —S>_ 2? |
TY S{GNATUREAND BADGE NUMBER

Set. Nathan Ellsberry #231
Supervisor / Instructor

Sgt. Leslie Mathis #228
Supervisor / Instructor

Sgt. Dedri Caldwell #314
Supervisor / Instructor
Case 1:05-cv-00326-LG-IMR_ Pocument 7:4 Filed 08/14/08 . Page 14 of 36.
| SHIFT TRAINING |

POLICY AND > PROCEDURE DIRECTIVE

RECEIVED a 115: MINUTE ‘BLOCK °

2D em

“ON, i) L wf L
PRINT NAME.

mis TRAINING ON POLICY AND PROCEDURE, INMATE RIC
_-. » SHIFTS BRIEFING. oo,

"DURING THE 2300/0700 | HOUR oe

“ sHiFE SUPERVISORS/INSTRUCTOR AO
SGT. LESLIE MATHIS #157) 8 OT
- /SOT.N NATHAN ELLSBERRY #154, ot

“Case 1:05-cv-00326-LG-JMR- Document 76-4 Filed 08/14/08 Page 15 0f 36 -
SHIFT TRAINING
~ POLICY AND PROCEDURE DIRECTIVE
ON, Hoy, i Lawn plengec _ RECEIVED a Is. MINUTE BLOCK

PRINT NAME.
TRAINING ON POLICY AND PROCEDURE, Natural Disasters DURING THE: 2300/0700 HOUR -

. SHIFTS BRIEFING.

- SHIFT SUPERVISORS/NSTRUCTOR

SGT. LESLIE MATHIS #228 -

SGT. DEDRI CALDWELL #314 Ce os og a oe

oe Case 1:05-cv-00326-LG-JMR ‘Document 76-4 Filed.08/14/08 Page 16 of 36.
SHIFT TRAINING.

POLICY AND PROCEDURE DIRECTIVE —

ON HBOS, KEYED. AATEC SCE RECEIVED a 15-MINUTE BLOCK
PE ee ___*PRINTNAME a
“TRAINING ON POLICY AND PROCEDURE, FORCED CELL MOVES; DURING THE 2300/0700

~ HOUR SHIFTS BRIEFING.

"SHIFT SUPERVISORS/INSTRUCTOR» =.
»- SGT-LESLIEMATHIS #157°0°
“SGT. NATHAN ELLSBERRY #1540

- -€ase 1:05-cv-00326-LG-JMR_ Document 76-4 ‘Filed 08/14/08 Page 17 of 36 -
SHIFT. TRAINING.

POLICY / AND PROCEDURE DIRECTIVE

“OND Boot. _levve AE LMBE RECEIVED a 15-MINUTE BLOCK a
. PRINT NAME , . :
TRAINING ON POLICY AND PROCEDURE, EMERGENCY. NOTIFICATION PROTOCOL;

’ . DURING THE 2300/0700 HOUR SHIFTS BRIEFING.’

we, SHIFT SUPERVISORS/INSTRUCTOR

' . SGT- LESLIE MATHIS #228

"Case 1:05-cv-00326-LG-JMR © Document 76-4. Filed:08/14/08 Page. 18 of 36 |

‘SHIFT TRAINING _

POLICY AND PROCEDURE DIRECTIVE™

coe ‘on November 7, 2004, I. Jp plpitiber __ received a 15-
- Minute Block Training From: The Policy And Procedure Directive On The Smoking
Policy, During The 2300- 0700.1 Hour Shift Briefing. oS co,

"Sgt. Dedri Caldwell #314
Supervisor / Instructor

=. Case 1:05-cv-00326-LG-JMR. Document 76-4 Filed 08/14/08 Page 19 of 36.
‘SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

“ON, 102304. Jexlip AAT TCA Be "RECEIVED a 15-MINUTE BLOCK °
: : PRINT NAME -
_» - FRAINING ON POLICY AND PROCEDURE, RIOTS AND. DISTURBANCES; DURING THE

~. 2300/0700 HOUR SHIFTS BRIEFING. :

a LE 20

LAP REANDS BADGE NUMBER |

"SHIFT SUPERVISORS/INSTRUCTOR

SGT, LESLIE MATHIS #228”
Case 1:05-cv-00326-LG-JMR Document 76-4 . Filed 08/14/08 Page 20 of 36 -

SHIFT TRAINING

POLICY ANE

BaROCEDURE! DIRECTIVE *s °

On October 31, 2004, I See0e0 ulemee : . - received a 15-
Minute Block Training From The Policy And Procedure Directive On Riots And
- Disturbances Procedure, During The 2300-0700 Hour Shift Briefing.

Z CR TEREANE ERDGEN NUMBER .

Set. Dedri Caldwell #314
Supervisor /.Instructor
Case 1:05-cv-00326-LG-JMR 7 Document 76-4 Filed 08/14/08 Page 21 of 36
- SHIFT TRAINING
POLICY AND PROCEDURE DIRECTIVE

. ON. pasted Tex EL DP phe HSE RECEIVED a 15- MINUTE BLOCK

PRINT NAME :
TRAINING ON, POLICY AND PROCEDURE, INMATE DEATHS: DURING THE 2300/0700 HOUR

SHIFTS BRIEFING.

ATURE AND BADGE NUMBER

- SHIFT SUPERVISORS/INSTRUCTOR,
_ SGT. LESLIE MATHIS #228
- SGT. DEDRI CALDWELL #314

“Case 1:05-cv-00326-LG-JMR _Document mt 76-4 Filed 08/14/08 Page 22 of 36
- SHIFT TRAINING.

POLICY AND PROCEDURE DIRECTIVE

ON, att, Jeevan: NE, EL, AGE RECEIVED a 15- MINUTE BLOCK.

oo PRINT NAME
. TRAINING ON. POLICY AND. PROCEDURE, : RIOTS-AND DISTURBANCES; DURING THE
* 2300/0700 HOUR SHIFTS BRIEFING. .

221

STY SIGNATURE AND BADGE NUMBER.

, “SHIFT SUPERVISORS/INSTRUCTOR

‘’ SGT. LESLIE MATHIS #228

Case 1:05-cv-00326-LG-JMR. Document 76-4 © Filed: 08/14/08 Page 23 of 36
SHIFT TRAINING

vee POLICY AND PROCEDURE DIREC:

On October 17,2004,1 JECED JVECHIEE received a 15-
‘Minute Block Training From The Policy And Procedure Directive On Fire And * .
Evacuation Procedure, Duting The 2300-0700 Hour Shift Briefing. .

oe Le siGuatoe “AND BADGE NUMBER.
Sgt. Dedri Caldwell #314
_ Supervisor / Instructor. .

- Set. Nathan Ellsberry #23 1
Supervisor / Instructor
Case 1:05-cv-00326-LG-JMR - Document 76-4 Filed 08/14/08 Page 24 of 36°

SHIFT TRAINING

“8 POLICY AND PROCEDURE DIREGEIVE 8°

- On October 15, 2004, I. Tete. We Longer réceived a 15- .
Minute Block Training From policy And Procedure Directive on Escape, During The a
2245- 0700 Hour Shift Briefing.

a : a

1G} am NUMBER

~ Sgt. Nathan Elisberry #231
. . Supervisor / Instructor: |.

. Sgt. Leslie Mathis #228
Supervisor / Instructor |

Case 1:05-cv-00326-LG-JMR : Pociiment 7 76-4 Filed 08/14/08 Page 25 of 36 ~~
- SHIF T TRAININ G

POLICY AND PROCEDURE DIRECTIVE.

= ON, spel 1: Late Upto oe _ RECEIVED a 15- ‘MINUTE BLOCK .
: PRINT NAME
“TRAINING ON POLICY AND PROCEDURE, EMERGENCY KEYS; DURING THE 2300/0700 HOUR

; SHIFTS BRIEFING.

RE AND BADGENUMBER

| SHIFT SUPERVISORS/INSTRUCTOR
-° $GT. LESLIE MATHIS #228 © - .
<°SGT- DEDRI CALDWELL #314

Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08. Page.26 of 36
SHIFT TRAINING
POLICY ANEYPROCEDUREDIRECTIVE
On October 12, 2004, I. _ Tete A ebitiee: received a 15-~

- “Minute Block Training From The Policy And Procedure Directive Emergency Hurricane.
Procedure, During The 2300- 0700 Hour: Shift Briefing.

Sgt. Dedri Caldwell #314
‘Supervisor / Instructor

_ Sgt. Nathan Elisberry #231
Supervisor / Instructor

Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 27 of 36

‘SHIFT TRAINING

te

.» POLICY AND PROCEDURE DIRECTIVE _

On October 7; 2004, L___< EAGCLD. Meth sé received a 15-:
Minute Block Training From. The Policy And Procedure Directive From Emergency.
-- Plans On General Emergency And Adverse Job Action Plan, During The 23 00-0700

Hour Shift Briefing. : ce

~ Set. Dedri Caldwell #314
~ Supervisor / Instructor oe
Case 1:05-cv-00326-LG-JMR Document 76-4 © Filed 08/14/08 Page 28 of 36

- SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

OnP4OTOY JB CURLED Me COVITFE RECEIVED a 15-MINUTE BLOCK

: PRINT NAME
TRAINING ON EVIDENCE COLLECTION PROTOCOL ;DURING THE 2300/0700 HOUR SHIFTS

BRIEFING.

DEPUTY. (GNANIRE AND BADGE NUMBER

/ SHIFT SUPERVISORS/INSTRUCTOR
st." SGT. LESLIE MATHIS #228. ‘
- . SGT. DEDRI CALDWELL #314
Case 1:05-cv-00326-LG-JMR Document 76-4 __ Filed 08/14/08 Page 29 of 36

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON, OFC. Teen AALRISE RECEIVED a 15-MINUTE BLOCK
. -PRINT NAME 7,
TRAINING ON POLICY AND PROCEDURE, HURRICANE PROCEDURES: DURING THE ~

2300/0700 HOUR SHIFTS BRIEFING.

PUTY. CNATUREAND BADGE NUMBER

SHIFT SUPERVISORS/INSTRUCTOR
 §GT. LESLIE MATHIS #228 |

_ SGT. DEDRI CALDWELL #314. _

_. SGT. NATHAN ELLSBERRY #231
“Case 1:05-cv-00326-LG-JMR *, Document 76-4 Filed 08/14/08 Page 30 of 36
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

On September 6, 2004, 1. Ie RED MELRISE. received a 15-
- Minute Block Training From The Policy And Procedure Directive On General Rules of
Conduct Procedures, During The 2300-0700 Hour Shift Briefing.

Loo SHGNA TURE AND BADGE NUMBER

Sgt. Dedri Caldwell #314

Supervisor / Instructor

Sgt. Nathan Ellsberry #231—
~ Supervisor / Instructor
‘Case 1:05-cv-00326-LG-JMR ‘Document 76-4 Filed 08/14/08 Page 31 of 36
SHIFT TRAINING
POLICY AND PROCEDURE DIRECTIVE
on, 0 toed SeMéED SEL MEE _ RECEIVED a 15-MINUTE BLOCK

. ' . PRINT NAME .
TRAINING ON POLICY AND PROCEDURE, CLASSIFICATIONS; DURING THE 2300/0700 HOUR

SHIFTS BRIEFING.

_ - SHIFT SUPERVISORS/INSTRUCTOR
" SGT. LESLIE MATHIS #228-
SGT. NATHAN ELLSBERRY #231
- Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 32 of 36
SHIFT TRAINING
- POLICY AND PROCEDURE DIRECTIVE
ON, OS 210A RED MW ERMBE. RECEIVED a 15-MINUTE BLOCK

PRINT NAME -
TRAINING ON POLICY ‘AND PROCEDURE, INMATE CUSTODY RECORDS; DURING THE

‘2300/0700 HOUR SHIFTS BRIEFING.

: OPPO ERAELNE AS BADEN NUMBER

“SHIFT SUPERVISORS/INSTRUCTOR -
| SGT. DEDRI CALDWELL #314
- SGT. NATHAN ELLSBERRY #231
Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 33 of 36

SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

On July 26, 2004, 1. eee NELWSE. received a 15- Minute

Block Training From The Policy And Procedure Directive On Personnel Records, During -
The 2245- 0700.Hour Shift Briefing.

oer SIGNATURE AND BADGE NOMBER
Set. Nathan Ellsberry #23 1
Supervisor / Instructor.

Set. Dedri Caldwell #314
Supervisor / Instructor
- Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 ~ Page 34 of 36 -
SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

- “on, 0738004, I ele 2 ELH 5 RECEIVED a 15- MINUTE BLOCK

: PRINT NAME
. TRAINING ON POLICY AND PROCEDURE, SUICIDE WATCH; DURING THE 2300/0700 HOUR

SHIFTS BRIEFING.

_ . SHIFT SUPERVISORS/INSTRUCTOBZ
- §GT. LESLIE MATHIS #228

Case 1:05-cv-00326-LG-JMR Document 76-4 -Filed 08/14/08 Page 35 of 36°

- SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

On October2, 2004, L eee ALLHOGED _ received a 15- Minute

_ Block Training From Inter-Office Memo on Wearing of shank vests, During The.2245-.
0700 Hour Shift Briefing.

Set. Nathan Blisberry #231
‘Supervisor / Instructor
Case 1:05-cv-00326-LG-JMR Document 76-4 Filed 08/14/08 Page 36of36

SHIFT TRAINING

“INTER-OFFICEMEMO 8

_ On October 6, 2004, I “SEecep LEAL SE -_._receivedal5--
' Minute Block Training On An Inter-Office Memo On Wearing Of Shank Vest, During

. - The 2300-0700 Hour Shift Briefing.

Bk € 7 Sicha TORE-AMD BADGE NUMBER

Sgt. Dedri Caldwell #314
=. Supervisor / Instructor
